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                         Exhibit 1
(a revision to Dkt. 1924-3 to include references to the
     Monitor’s findings from the Eighth Report)




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     Provision Requirement(s) of Provision               Monitor’s Findings
     in Breach
1.   II.A*     Defendants shall implement sufficient     Various compliance ratings are given on
               measures, consistent with the needs of    this term as it applies to different care
               Class Members, to provide adequate        areas, but in the Executive Summary, the
               medical and dental care to those          Monitor addresses this main purpose of
               incarcerated in the Illinois Department   the Decree by acknowledging that “IDOC
               of Corrections with serious medical or    has made progress” but that “[s]taffing is
               dental needs. Defendants shall ensure     the key barrier to forward progress toward
               the availability of necessary services,   compliance.” Dkt. 1893, Eighth Report, at
               supports and other resources to meet      5.
               these needs.
                                                         He goes on to explain: “This report will
                                                         demonstrate that on every level from
                                                         facility supervisory staff, physicians,
                                                         dentists, and nursing staff, IDOC has been
                                                         unable to increase staffing and instead
                                                         have less staff based on their own staffing
                                                         analysis than in 2019. Physician staffing is
                                                         now at 50% vacancy and has become
                                                         dangerous as is evident in mortality
                                                         reviews which are an attachment to this
                                                         report. These mortality reviews
                                                         demonstrate a linkage between facilities
                                                         with physician shortages and increased
                                                         morbidity and decreased quality of care.
                                                         Lack of supervisory staff and line staff
                                                         hampers the ability to implement the array
                                                         of new policies and procedures. Lack of
                                                         nursing, clerical, and data staff impair the
                                                         ability of IDOC to collect and analyze data
                                                         necessary to demonstrate compliance
                                                         with the Consent Decree. Lack of quality
                                                         improvement and supervisory staff result
                                                         in inability of IDOC to undertake corrective
                                                         actions. Infection control, quality
                                                         improvement, and chronic care programs
                                                         are all impaired due to staffing
                                                         deficiencies. The Monitor cannot
                                                         emphasize enough that staffing needs to
                                                         improve dramatically and as soon as
                                                         possible. The increasing use of locum
                                                         tenens physicians and agency nursing
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                                                          staff has an associated set of problems
                                                          including lack of familiarity with policy and
                                                          procedure and abbreviated tenure.
                                                          Staffing must improve for IDOC to move
                                                          forward.” Id.
2.   II.B.1*    provide access to an appropriate level of Dkt. 1893 at 144 (“Staffing continues to be
                primary, secondary, and tertiary care     a major barrier in access to primary care
                                                          as required by II.B.1.”); see also 180
                                                          (“IDOC has not provided information to
                                                          verify adequate access to timely
                                                          secondary care (II.B.1).”

                                                           The Monitor gives a noncompliance rating
                                                           to this provision as it relates to infirmary
                                                           care, id. at 161, noting that “[t]he mortality
                                                           reviews completed by the Monitor for this
                                                           report identified four patients who should
                                                           have been but were not cared for in an
                                                           infirmary setting when the need for a
                                                           higher level of care was evident.” These
                                                           included patients with terminal cancer
                                                           who were not adequately monitored
                                                           because they were not placed in the
                                                           infirmary.

                                                           The Monitor also gives a partial
                                                           compliance rating to a group of
                                                           provisions, including but not limited to
                                                           II.B.1, as they relate to Medical Reception,
                                                           id. at 126-27; Nursing Sick Call, id. at 142;
                                                           chronic care, id. at 152; urgent and
                                                           emergent care, id. at 156; specialty
                                                           consultation, at 178-79.
3.   II.B.2*    requires “the monitoring of health care    Noncompliance rating given as this
                by collecting and analyzing data to        provision applies to staffing, Dkt. 1893 at
                determine how well the system is           22; as well as monitoring of the vendor,
                providing care. This monitoring must       Dkt. 1893 at 72, 76. These are the two
                include meaningful performance             provisions most relevant to this motion to
                measurement, action plans, [and]           enforce the staffing provisions of the
                effective peer review                      Decree.

                                                           Partial compliance rating given to groups
                                                           of provisions, including this one, as they
                                                           relate to statewide issues: leadership and
                                                           organization leadership staffing, id. at 7.
                                                           internal monitoring and quality
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                                                           improvement, id. at 49; clinical space, id.
                                                           92-92; infirmary equipment and supplies,
                                                           id. at 103-104,

                                                           Partial compliance rating given to a group
                                                           of provisions related to Dental Access,
                                                           Dkt. 1893 at 260. However, the narrative
                                                           section on the very same page states:

                                                           “Access to care within the IDOC is
                                                           influenced by several factors, with
                                                           adequate staffing being the most critical.
                                                           The current shortage of personnel has had
                                                           a profound impact on the provision of
                                                           dental services. A review of Continuous
                                                           Quality Improvement (CQI) minutes from
                                                           reporting facilities revealed widespread
                                                           backlogs throughout the system. Given the
                                                           50% vacancy rate for dentist positions, it is
                                                           not surprising that many facilities are
                                                           experiencing delays in dental services.”
                                                           The Monitor goes on to express a lack of
                                                           confidence in the reliability of IDOC’s
                                                           backlog data, and states, “Despite the
                                                           inability to reconcile backlog data
                                                           between Wexford and the CQI minutes, it
                                                           is clear that many facilities face significant
                                                           delays in dental services. IDOC has not
                                                           provided comprehensive and reliable
                                                           dental backlog data for all facilities across
                                                           the system.” Id.
4.   II.B.3*    IDOC must also provide enough trained      Noncompliance as this provision relates
                clinical staff, adequate facilities, and   to Staffing, Dkt. 1893 at 22-23, finding that
                oversight by qualified professionals, as   “[o]verall staffing has worsened over the
                well as sufficient administrative staff    five years since the inception of the
                                                           Consent Decree.”

                                                           “After the last report, IDOC responded that
                                                           comparing working staff from 2019 to 2024
                                                           is misleading because the population of
                                                           IDOC has decreased. Despite the
                                                           decrease in staffing, IDOC’s own staff
                                                           including HCUAs and Regional
                                                           Coordinators have recently stated that a
                                                           major problem with implementation of
                                                           IDOC policies is lack of staffing,
                                                4
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                                                 apparently even given the lower
                                                 population numbers. Even given the lower
                                                 population, IDOC has neither
                                                 implemented the Consent Decree nor its
                                                 own policies and the Monitor’s opinion is
                                                 that staffing is a key barrier in
                                                 implementing requirements of the
                                                 Consent Decree.”

                                                 “Physician staffing is dangerously low.
                                                 Pending a workload analysis, the Monitor
                                                 advises IDOC to increase budgeted
                                                 physician staffing. … One of the
                                                 physicians from Stateville should be
                                                 transferred to Dixon. A second physician
                                                 should additionally be added to Dixon. The
                                                 rationale is the population (1449), the
                                                 extremely high offsite specialty care, and
                                                 the high burden of elderly and disabled
                                                 patients. Additional physicians should be
                                                 added to Menard, Pinckneyville, Western,
                                                 IRCC, Graham, Hill, and BMRCC. The
                                                 rationale is high population, high death
                                                 rate, and high numbers of specialty care
                                                 patients.” Id. at 24.

                                                 As for nursing, the Monitor found that
                                                 “some facilities have so few nurses that it
                                                 is difficult to understand how they can
                                                 function. Illinois River, Logan and Western
                                                 had no RN positions filled. Southwestern
                                                 had LPN positions filled. Vacancies were
                                                 supplemented with agency staff but no
                                                 facilities were 100% staffed for RNs and
                                                 only one facility had 100% LPN staffing.”
                                                 Id. at 24-25.

                                                 Partial compliance as it relates to dental
                                                 care, id. at 246, but the Monitor said the
                                                 following re dentist staffing: “There were
                                                 36.15 FTE dental positions budgeted, with
                                                 18.06 filled, resulting in a 50% vacancy
                                                 rate. During the site visit, there was a
                                                 discussion with the Chief of Oral Health
                                                 Services and Wexford's lead dentist about
                                                 staffing shortages. Wexford's lead dentist
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                                                            indicated that he and other dentists
                                                            provide coverage at various facilities.
                                                            Wexford has contracted a mobile dental
                                                            clinic (Jet Dental) to provide care at
                                                            Danville, Menard, Graham, and
                                                            Southwestern. However, it remains
                                                            unclear how much full-time equivalent
                                                            (FTE) support is provided to these and
                                                            other facilities without a permanent
                                                            dentist.”

                                                            Also given a partial compliance rating as
                                                            this term applies to Statewide
                                                            Issues/Leadership and Organization
                                                            Leadership Staffing, Dkt. 1893 at 7-8;
                                                            infection control, id. at 232.

5.   II.B.6.e   [i]nformed care for patients who return     Partial compliance, along with group of
                to IDOC facilities after being sent to an   provisions related to Specialty Care, Dkt.
                offsite service provider                    1893, Eighth Report, at 178; but see also
                                                            id. at 180, “IDOC has not provided
                                                            information to verify … [that IDOC is]
                                                            ensuring a provider review of the report
                                                            and follow up with the patient to discuss
                                                            the consultation report and provide
                                                            informed care (III.H.2. and II.B.6.e.)”.

                                                            On page 183 of the Eighth Report, the
                                                            Monitor explains:

                                                            “It is the Monitor’s belief that lack of
                                                            sufficient physicians is a root cause of
                                                            many of the problem with specialty care
                                                            because physicians do not appear to have
                                                            sufficient patient-time to manage complex
                                                            patients and to ensure that care occurs
                                                            and is coordinated with consultants.”
6.   II.B.6.g   requires defendants to implement            Dkt. 1893, Eighth Report, at 178-79 gives a
                changes to ensure “Timely access to         “partial compliance” rating to a group of
                diagnostic services and to appropriate      provisions related to Specialty Care, but
                specialty care.”                            also states on page 180 that “IDOC has
                                                            not provided information to verify
                                                            adequate access to timely secondary care
                                                            (II.B.1. and IIB.6.g.).”


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                                                          Importantly, the Monitor further explains
                                                          on page 181 that “IDOC does not track
                                                          delays in specialty care and their offsite
                                                          specialty tracking logs do not consistently
                                                          track the date of referral so the extent of
                                                          delays and lack of access cannot be
                                                          determined from information and data
                                                          provided to the Monitor because it is not
                                                          accurately tracked.”

                                                          As quoted more thoroughly below, the
                                                          Monitor finds at Dkt. 1893 at 186 that, with
                                                          regards to specialty care, “Lack of staffing
                                                          (physicians and support staff) appears
                                                          responsible for operational issues and
                                                          provider follow up.”
7.   II.B.6.i   requires implementation of “Morbidity     A partial compliance rating is given for a
                and mortality review with action plans    collection of provisions related to
                and follow-through”                       mortality reviews, Dkt. 1893 at 76,
                                                          because mortality reviews are conducted,
                                                          but the Monitor further finds that, “no
                                                          corrective actions have been initiated
                                                          through mortality reviews.” Id. at 77.

                                                       This is not surprising, given that, even
                                                       under Defendants’ new proposed policy
                                                       on mortality reviews, “[n]o one has
                                                       responsibility for assigning corrective
                                                       action and facilities, apparently, are
                                                       expected to determine what to do with the
                                                       findings. This has not been effective as no
                                                       corrective actions are evident.” Id. at 78.
                                                       And once again, inadequate staffing is a
                                                       barrier to improvement in this area:
                                                       “Facilities are not yet advanced enough
                                                       nor do they have sufficient staffing, at this
                                                       time, to develop corrective actions.” Id. at
                                                       83.
8.   II.B.6.k   requires IDOC to implement changes for Dkt. 1893, Eighth Report, at 161, awards a
                “appropriate staffing, physical        rating of “noncompliance” for a collection
                conditions, and scope of services for  of provisions related to infirmary care,
                infirmary care.”                       including II.B.6.k.

                                                          The Monitor acknowledges that “IDOC
                                                          distributed a policy and procedure on
                                                          Infirmary Care (F.04.01) in February 2024,”
                                                7
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                                                         but further noted that “There has not been
                                                         any evaluation of the staffing or other
                                                         resources needed to deliver infirmary care
                                                         consistent with the IDOC policy and
                                                         procedure.” Id. at 162. OHS had “informed
                                                         the Monitor that these new policies and
                                                         procedures are being reviewed with site
                                                         leadership and the facilities are expected
                                                         to implement them as they are able." Id. A
                                                         review of actual infirmary care provided
                                                         revealed “the same problems with clinical
                                                         care and support services for patients
                                                         needing infirmary care that have been
                                                         discussed in previous reports.” Id. at 162-
                                                         63, citing Fourth Report at 123-30; Fifth
                                                         Report at 111-23; Sixth Report at 104-108;
                                                         and Seventh Report at 120-21. “These
                                                         problems include failure to provide clinical
                                                         care that is appropriate and responsive to
                                                         the patient’s medical needs and unsafe
                                                         practices that put patients at risk of
                                                         adverse events.” Dkt. 1893 at 163.

                                                         Regarding the requirement to provide
                                                         adequate staffing for infirmary care, the
                                                         Monitor found that “Adequate nursing
                                                         coverage in the infirmary is a function of
                                                         having the right type of positions, in
                                                         quantities sufficient to meet patient needs
                                                         and the ability to recruit and retain
                                                         qualified personnel to fill at least 85% of
                                                         these positions. While some coverage has
                                                         been obtained through the use of “as
                                                         needed” and agency contract nurses,
                                                         these temporary personnel do not have
                                                         the training, experience, or commitment to
                                                         the organization to ensure patient care
                                                         quality and safety. IDOC does not have
                                                         appropriate nurse staffing for infirmary
                                                         care.” Dkt. 1893 at 171.

9.   II.B.7     requires “the development and full       A partial compliance rating is given, Dkt.
                implementation of a set of health care   1893 at 55-56, because OHS had begun
                performance and outcome                  obtaining 12 performance and outcome
                measurements”                            measures with the help of SIU in the first
                                                         quarter of 2023. The Monitor further noted
                                                8
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                                                         that data for these performance measures
                                                         “is still collected manually” and “is a very
                                                         cumbersome data management process
                                                         that significantly impairs IDOC’s ability to
                                                         evaluate its performance and to add
                                                         additional measures based on
                                                         information.” Id. at 60. Results of these
                                                         performance measures “show generally
                                                         performance and taking action to correct
                                                         the poor performance has been difficult
                                                         and is significantly impaired by staffing
                                                         deficiencies, a variety of procedural
                                                         defects, and leadership in training
                                                         providers on management consistent with
                                                         new IDOC policy.” Id. Moreover,
                                                         “[i]nitiatives to improve scores on two
                                                         measures have been started but are not
                                                         fully implemented” due to barriers
                                                         including staffing, analysis of staffing
                                                         needs, ensuring administrative directives
                                                         are consistent with clinical directives,
                                                         supplies, equipment, and training
                                                         necessary to ensure success.” Id. at 60-61.
10.   II.B.9     requires the creation of “an audit      Noncompliance, Dkt. 1893 at 54.
                 function for IDOC’s quality assurance
                 program which provides for              “Currently, IDOC produces no V.G. report
                 independent review of all facilities’   [and] conducts no comprehensive audit
                 quality assurance programs”             (II.B.9)” Dkt. 1893 at 180; see also id. at 6:

                                                         “The Consent Decree requires the Monitor
                                                         to evaluate Defendant’s compliance with
                                                         the Consent Decree. For that purpose, the
                                                         Monitor needs the information that is
                                                         specified to be provided in the V.G. report
                                                         and results of the audit (II.B.9.) which are
                                                         to be completed by IDOC. This information
                                                         has not been provided to the Monitor.
                                                         Lacking IDOC’s contribution to verify its
                                                         compliance, the Monitor requests data
                                                         and documents in order to fulfill the duties
                                                         of the Consent Decree to provide reports
                                                         of compliance every six months. This is
                                                         done without the benefit of a V.G. report or
                                                         a comprehensive audit. Requested data
                                                         arrives piecemeal and unanalyzed; some
                                                         documents are not provided timely.
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                                                              Lacking any contribution from IDOC in the
                                                              V.G. report and the comprehensive audit,
                                                              the Monitor’s evaluation has become
                                                              more extensive than it might be if IDOC
                                                              provided acceptable V.G. reports and
                                                              comprehensive audits.”
11.   III.A.10   Each IDOC facility shall have registered     Overall Compliance Rating of
                 nurses conducting all sick calls; "[u]ntil   “noncompliance” at Dkt. 1893, Eighth
                 IDOC has achieved substantial                Report, at 22; id. at 145 (“There is no
                 compliance with [the] nursing provision      uniform measure used by IDOC to
                 of the staffing plan” facilities can “use    document that only registered nurses
                 licensed practical nurses in sick call,      conduct sick call per III.A.10 and this item
                 but only with appropriate supervision        of the Consent Decree remains
                                                              noncompliant.”)

                                                              See also id. at 143, giving “partial
                                                              compliance” to group of provisions
                                                              related to sick call due to new sick call
                                                              policy but explaining, as relevant to
                                                              provision III.A.10, that “The new policy
                                                              does not incorporate or otherwise
                                                              establish the means or methods to
                                                              comply with the Consent Decree. This was
                                                              a missed opportunity. The policy does not
                                                              directly address III.A.10 that registered
                                                              nurses conduct sick call or that LPNs may
                                                              do so only until the staffing plan for
                                                              registered nurses is achieved and only if
                                                              supervised.”
12.   III.C.1    provide sufficient nursing staff and         “IDOC attained partial compliance with
                 clinicians to complete medical               these items in the Consent Decree in 2022
                 evaluations during the intake process        because a policy and procedure for
                 within seven (7) business days after a       medical reception had been drafted,
                 prisoner is admitted to one of IDOC’s        increased positions were allocated to the
                 Reception and Classification Centers         intake centers, and IGRA testing to screen
                                                              for tuberculosis infection had been
                                                              initiated. As of this report IDOC has made
                                                              some forward progress as described in the
                                                              following paragraphs with much work yet
                                                              to be done.” Dkt. 1893, Eighth Report, at
                                                              128, citing Dkt. 1579, Fifth Report, at 75;
                                                              see also Dkt. 1893 at 134 (“IDOC
                                                              performance is not compliant with
                                                              III.C.1”); id. at 140 (“Staffing of reception
                                                              centers is insufficient as measured by the
                                                              lack of timeliness and inadequacy of the
                                                  10
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                                                              initial intake screening and health care
                                                              assessment and initiation of plans for
                                                              subsequent health care. A policy and
                                                              procedure for receiving screening has
                                                              been developed but it is clear that it has
                                                              yet to be implemented by the Reception &
                                                              Classification Centers.”
13.   III.C.3    to ensure “that a clinician or a             Same as above (partial compliance)
                 Registered Nurse reviews all intake data
                 and compiles a list of medical issues for
                 each prisoner.”
14.   III.C.4    IDOC shall ensure follow up on all           Same as above (partial compliance)
                 pertinent findings from the initial intake
                 screening referenced in C.3. for
                 appropriate care and treatment
15.   III.G.1    Each facility HCUA shall track all           While the Eighth Report gives a rating of
                 emergent/urgent services in a log book,      “partial compliance” to a collection of
                 preferably electronic                        provisions related to Urgent and Emergent
                                                              care, Dkt. 1893 at 156-57, this is due to the
                                                              creation of a policy. But the Monitor finds
                                                              that “[f]rom review of the facility Quality
                                                              Improvement Minutes, it is clear that
                                                              implementation of the policy changes in
                                                              emergency services has yet to be
                                                              accomplished.” Id. at 157. With regards to
                                                              this specific provision (III.G.1), the Monitor
                                                              explains that “None of the 30 facilities
                                                              reporting provided logs of requests for
                                                              urgent or emergent health care attention
                                                              with information about the response.
                                                              During the site visit to NRC we observed
                                                              that the HCUA was piloting a log to track
                                                              onsite emergency responses. Ten facilities
                                                              do not appear to keep a log of
                                                              emergencies sent to the emergency room.
                                                              Thirteen of 20 facilities which keep a log,
                                                              track whether a report was received from
                                                              the emergency room about the patient’s
                                                              evaluation, care and further treatment
                                                              recommendations and only 11 track
                                                              whether the patient was seen by a provider
                                                              upon return.”
16.   III.G.3    IDOC shall use best efforts to obtain        Partial compliance along with group of
                 emergency reports from offsite services      provisions on Medical Records, Dkt. 1893
                                                              at 83-84. As above, with regards to this

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                 when a prisoner returns to the parent        provision, the Monitor found that “since
                 facility                                     the last report IDOC has established in
                                                              policy and procedure the following
                                                              expectations” including “The type of
                                                              documentation and reports to be
                                                              requested from offsite service providers
                                                              has been clarified” and “Urgent/emergent
                                                              responses will be reviewed to identify the
                                                              follow up needed by patients, any
                                                              problems with the response, and
                                                              opportunities to improve primary care.”
                                                              Dkt. 1893, Eighth Report, at 160. But
                                                              “[t]here is little evidence yet that facilities
                                                              have implemented the changes required
                                                              by these policies. OHS has not evaluated
                                                              the need for staffing and training
                                                              necessary to ensure urgent/emergent
                                                              services are delivered consistent with the
                                                              policies nor how competency in clinical
                                                              response to medical emergencies will be
                                                              evaluated.” Id.
17.   III.G.4    [f]acility medical staff shall ensure that   Dkt. 1893, Eighth Report, at 187-88, given
                 a prisoner is seen by a Medical Provider     an overall rating of “noncompliance” for
                 or clinician within 48 hours after           hospital care, stating “IDOC provided no
                 returning from an offsite emergency          V.G. report and no information that tertiary
                 service. If the Medical Provider is not a    care was acceptable. The Monitor’s
                 clinician, the Medical Provider shall        mortality reviews on only 13 records
                 promptly review the offsite                  showed multiple problems with ineffective
                 documentation, if obtained, with a           or absent post-hospitalization
                 clinician and the clinician shall            evaluations; failure to obtain a hospital
                 implement necessary treatment                report or to obtain it timely; delayed care
                                                              resulting in hospitalization; and needed
                                                              hospitalization not being timely ordered.”

                                                              Similarly, on page 159, the Monitor
                                                              explained that, “The Consent Decree
                                                              requires patients to be seen within 48
                                                              hours of return. These logs were reviewed
                                                              to evaluate the extent of compliance with
                                                              this requirement and the findings are in
                                                              the following table. Not quite half the
                                                              patients sent out for an emergency from
                                                              11 facilities which report this information
                                                              are seen within 48 hours of return to the
                                                              facility.” While IDOC had developed policy
                                                              and procedure related to emergency
                                                   12
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                                                              services, the Monitor found that “[t]here
                                                              is little evidence yet that facilities have
                                                              implemented the changes required by
                                                              these policies. OHS has not evaluated
                                                              the need for staffing and training
                                                              necessary to ensure urgent/emergent
                                                              services are delivered consistent with
                                                              the policies nor how competency in
                                                              clinical response to medical
                                                              emergencies will be evaluated.” Dkt.
                                                              1893 at 160.
18.   III.H.1    Medical staff shall make entries in a log,   Among a collection of provisions related to
                 preferably electronic, to track the          specialty care that, as a group, were given
                 process for a prisoner to be scheduled       a “partial compliance” rating. Dkt. 1893,
                 to attend an offsite service, including      Eighth Report, at 179. But this particular
                 when the appointment was made, the           provision is not in compliance, per the
                 date the appointment is scheduled,           narrative section of the Eighth Report at
                 when the prisoner was furloughed, and        page 179-80, which reads:
                 when the prisoner returned to the
                 facility                                     “Every facility tracks specialty care
                                                              differently and what is recorded is optional
                                                              for each site. This lack of standardization
                                                              makes these logs unusable for the
                                                              purpose of establishing compliance. Logs
                                                              have been reported as inaccurate since
                                                              the Monitor’s 2nd Report [Dkt. 1335 at
                                                              108-109] and do not reflect all care nor all
                                                              intended care. The only procedural
                                                              statement on the log in policy D.04.01
                                                              Offsite Clinical Care is procedural
                                                              statement V. which states:
                                                                      The facility maintains a log of all
                                                                      ambulatory specialty care requests
                                                                      and diagnostic testing, treatment,
                                                                      and procedures in an electronic
                                                                      format.
                                                              This gives no further guidance on how to
                                                              maintain the log, who will maintain the
                                                              log, or what is to be in the log. As written,
                                                              current practices can continue unabated
                                                              and specialty care will not be tracked
                                                              accurately.”




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19.   III.H.2    Within three days of receiving the           Among a collection of provisions related to
                 documentation from scheduled offsite         specialty care that, as a group, were given
                 services, the documentation will be          a “partial compliance” rating. Dkt. 1893,
                 reviewed by a medical provider. Routine      Eighth Report, at 179. But at page 181 the
                 follow-up appointments shall be              Monitor noted that “Reports of specialty
                 conducted by facility medical staff no       consultations are often not obtained and
                 later than five (5) business days after a    when not obtained there is no
                 prisoner’s return from an offsite service,   documented effort to obtain the report.”
                 and sooner if clinically indicated           See also id. at 181-82, “Providers do not
                                                              consistently timely review offsite
                                                              consultation reports or do not consistently
                                                              document findings of the consultant.
                                                              Providers seldom provide informed
                                                              feedback to the patient about the
                                                              consultation and how the consultation will
                                                              change the therapeutic plan or why certain
                                                              recommendations of the consultant will
                                                              not be undertaken.”

                                                              The Monitor has explicitly found that
                                                              staffing is a barrier to compliance in the
                                                              area of offsite services, and that
                                                              Defendants remain resistant to necessary
                                                              analysis and improvements to staffing that
                                                              are necessary to provide appropriate care.
                                                              On page 183 of the Eighth Report, the
                                                              Monitor explains:

                                                              “It is the Monitor’s belief that lack of
                                                              sufficient physicians is a root cause of
                                                              many of the problem with specialty care
                                                              because physicians do not appear to have
                                                              sufficient patient-time to manage complex
                                                              patients and to ensure that care occurs
                                                              and is coordinated with consultants. The
                                                              Monitor has recommended a workload
                                                              analysis to determine staffing needs.
                                                              IDOC has not yet accepted this
                                                              recommendation. With respect to
                                                              physician needs for specialty care, a
                                                              workload analysis would include the
                                                              following. There is a requirement (II.B.6.c.
                                                              and III.H.2.) that after each offsite visit a
                                                              provider is to provide informed care to the
                                                              patient that in the Monitor’s opinion
                                                              requires reading the report carefully,
                                                  14
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                                                               contacting the consultant for questions,
                                                               evaluating the patient, updating the
                                                               problem list and therapeutic plan, and
                                                               discussing all the diagnoses and changes
                                                               to the plan with the patient. Based on prior
                                                               experience in managing physician care,
                                                               the Monitor believes this will take
                                                               approximately twenty minutes during a
                                                               post consultation visit. If Dixon is used as
                                                               an example, the scheduling clerk
                                                               estimates that 300 new referrals are
                                                               generated a month. If a physician is
                                                               expected to conduct this evaluation and if
                                                               20 minutes is allotted per post-
                                                               consultation visit, then 6000 minutes per
                                                               month are needed to complete this task.
                                                               That is 100 hours or 0.625 FTE physician to
                                                               complete this task. One can easily
                                                               understand why current offsite post visits
                                                               are so poorly performed and why many are
                                                               not even completed. There are simply not
                                                               enough physician hours to accomplish
                                                               this task. A similar analysis can be
                                                               made for the scheduling clerks which
                                                               the Monitor believes would also show
                                                               insufficient staffing.”

                                                               And finally, at Dkt. 1893 at 186, the
                                                               Monitor summarizes that “Lack of staffing
                                                               (physicians and support staff) appears
                                                               responsible for operational issues and
                                                               provider follow up. Mortality reviews
                                                               show many preventable deaths as a result
                                                               of problems with specialty care. A partial
                                                               compliance is warranted on the basis of
                                                               promulgation of a policy but access to
                                                               specialty services still has significant
                                                               problems.”
20.   III.H.3    If a prisoner returns from an offsite visit   Among a collection of provisions related to
                 without any medical documentation             specialty care that, as a group, were given
                 created by the offsite personnel, IDOC        a “partial compliance” rating. Dkt. 1893,
                 shall use best efforts to obtain the          Eighth Report, at 179. But at page 180 the
                 documentation as soon as possible             Monitor noted that, “IDOC has not
                                                               provided information to verify …
                                                               documentation of why consultation
                                                               reports could not be obtained (III.H.3.)”
                                                   15
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21.   III.H.4    Provided that IDOC receives                    Among a collection of provisions related to
                 documentation from offsite clinicians,         specialty care that, as a group, were given
                 all medical appointments between a             a “partial compliance” rating. Dkt. 1893,
                 prisoner and an offsite clinician shall be     Eighth Report, at 179. But at pages 180-81
                 documented in the prisoner’s medical           the Monitor explained that, with regards to
                 records, including any findings and            this specific provision, “IDOC has not
                 proposed treatment.                            provided information to verify … that all
                                                                appointments between a consultant and
                                                                the patient are documented in the medical
                                                                record (III.H.4.).
22.   III.I.1    requires that a registered nurse will be       Noncompliance rating, Dkt. 1893 at 161.
                 readily available whenever an infirmary
                 is occupied in the IDOC system
23.   III.I.2    requires that every facility regularly         Noncompliance rating, Dkt. 1893 at 161.
                 housing maximum security prisoners,
                 there shall be at least one registered
                 nurse assigned to the infirmary at all
                 times, twenty-four (24) hours a day,
                 seven (7) days a week
24.   III.I.3    requires that all facilities employ at least   Noncompliance rating, Dkt. 1893 at 161.
                 one registered nurse on each shift. If a
                 prisoner needs health care that exceeds
                 the IDOC infirmary capabilities, then the
                 prisoner shall be referred to an offsite
                 service provider or a hospital.
25.   III.K.6*   Requires routine comprehensive dental          Noncompliance rating, Dkt. 1893 at 270.
                 care shall be provided through                 “Despite introducing a new dental policy,
                 comprehensive examinations and                 there seems to be a lack of consistency in
                 treatment plans and will be                    how examinations and treatment plans are
                 documented in the prisoners’ dental            formulated across the system. It is unclear
                 charts.                                        whether dentists have received proper
                                                                communication or guidance regarding the
                                                                requirements for conducting examinations
                                                                and structuring treatment plans.”
26.   III.K.8*   Requires routine and regular dental            Partial compliance rating, Dkt. 1893 at
                 cleanings shall be provided to all             266-67.
                 prisoners at every IDOC facility.
                 Cleanings shall take place at least once       IDOC’s revised dental policy says
                 every two years, or as otherwise               cleanings will be done annually, but
                 medically indicated.                           “[d]ata from SIU shows that the overall
                                                                compliance rates for these facilities were
                                                                56% in FY24 Q1, 63% in FY24 Q2, and 54%
                                                                in FY24 Q3. While IDOC is not fully
                                                                compliant with the Decree, three facilities
                                                                met the program's goal of providing a

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                                                                hygiene appointment within two years.
                                                                Decatur achieved 100% compliance in the
                                                                SIU review, while Sheridan and Stateville
                                                                both reached 90% compliance” Id. at 267-
                                                                68.
27.   III.L       requires “a comprehensive medical and         A partial compliance rating was given to a
                  dental Quality Improvement Program for        group of provisions related in internal
                  all IDOC facilities, which program shall      monitoring and quality improvement, Dkt.
                  be implemented with input from the            1893 at 49, but the Monitor further
                  Monitor.”                                     explained that “[f]acility quality
                                                                improvement programs are not well
                                                                developed” because the appropriate
                                                                staffing was not in place. Id. at 53 (“No
                                                                facility has a dedicated Quality
                                                                Improvement Coordinator. All facility
                                                                quality improvement coordinators have
                                                                other assignments.”).

                                                                Without appropriate staffing, a quality
                                                                improvement program cannot function. In
                                                                the Seventh Report, the Monitor shared an
                                                                anecdote from a recent site visit where
                                                                “the coverage physician said he had no
                                                                time to participate in quality improvement
                                                                activity because he was overwhelmed with
                                                                work.” Dkt. 1725 at 43.
28.   IV.A & B*   required that defendants “shall conduct       A partial compliance rating is given as to
                  a staffing analysis . . . to accomplish the   this provision, Dkt. 1893, at 19, because
                  obligations and objectives in this            Defendants submitted the August 2021
                  Decree”) within 120 days from the             document that they titled as their Staffing
                  Monitor being selected.                       Analysis. However, “[t]he Monitor has
                                                                consistently stated that IDOC’s analysis
                                                                was not an analysis and recommended a
                                                                workload analysis to more accurately
                                                                describe IDOC’s need for staffing but this
                                                                has not been done.” Id. at 20.

                                                                As for updates to the original staffing
                                                                analysis proposed to the Monitor in 2019
                                                                (which called for 373 additional positions,
                                                                the Monitor notes that, “[t]here have been
                                                                minor modifications to this recommended
                                                                number over the subsequent years but
                                                                IDOC has not performed any further
                                                                analysis.” Id. at 20.

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                                                                The Monitor goes on to explain that
                                                                drafting of the Staffing Analysis document
                                                                has not resulted in a meaningful increase
                                                                in staff:
                                                                “For over two years, IDOC did not allocate
                                                                all of its recommended positions in their
                                                                staffing analysis. When IDOC finally
                                                                allocated all positions in 2022, the Monitor
                                                                recommended that IDOC hire all
                                                                positions.43 This has not occurred. As of
                                                                this report, IDOC has 60 less working staff
                                                                than it did in 2019 and 679 vacancies
                                                                based on their 2019 staffing analysis.
                                                                There is no dispute that additional staff are
                                                                needed but the numbers of vacant
                                                                position is staggering and has been
                                                                present since the IDOC staffing analysis
                                                                positions were allocated. In interviews
                                                                with IDOC Regional Coordinators, they
                                                                mentioned staffing as a key barrier to
                                                                implementation of policies. The HCUA at
                                                                NRC named lack of staffing as the key
                                                                barrier to implementation of the sick call
                                                                policy. Lack of staffing is impeding
                                                                movement towards compliance with the
                                                                Consent Decree. The Monitor continues to
                                                                recommend hiring all staff as soon as
                                                                possible.” Id. at 20.
*Explicitly cited and addressed in previous dispute resolution letters.




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